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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 2:21−cr−00355−CCW
                                                       Judge Christy Criswell Wiegand
AMY BORTOT, et al.
                                        Defendant.

                MAGISTRATE JUDGE'S REPORT OF ARRAIGNMENT


Defense Counsel: Ryan R. Smith.
Government: Jonathan Lusty.
Date of Arraignment: 8/31/2021.
Defendant entered a plea of Not Guilty.
The parties were advised that all pretrial motions must be filed within fourteen (14) days.
A Rule 16 Conference: has not been held.
Discovery is not completed.
Defendant has requested to be tried by: Jury.
Estimated trial length: 17 days


                                                                      s/ Cynthia Reed Eddy
                                                             United States Magistrate Judge
